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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-303 GEB
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          [PROPOSED] FINDINGS AND ORDER
14   SESAR PRADO, ET AL.                                DATE: January 29, 2016
                                                        TIME: 9:00 a.m.
15                                Defendants.           COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION

18         1.      By previous order, this matter was set for status on December 17, 2015.

19         2.      By this stipulation, defendants now move to continue the status conference until January

20 29, 2016, and to exclude time between December 17, 2015, and January 29, 2016, under Local Code T4.
21         3.      The parties agree and stipulate, and request that the Court find the following:

22                 a)      The government has represented that the discovery associated with this case

23         includes approximately 120 pages of discovery, which includes investigative reports, search

24         warrant affidavits, judgment and commitment records, CD’s and DVD’s, and criminal history

25         reports All of this discovery has been either produced directly to counsel and/or made available

26         for inspection and copying.

27                 b)      Counsel for defendants desire additional time to complete the review of

28         discovery, to conduct defense investigation, and to discuss potential resolutions with their


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
30    FINDINGS AND ORDER
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 1        clients. Counsel has also been continuing to engage in pre-trial negotiations with the government

 2        and otherwise prepare for trial

 3                c)      Counsel for defendants believe that failure to grant the above-requested

 4        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6                d)      The government does not object to the continuance.

 7                e)      Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of December 17, 2015 to January 29,

12        2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14        of the Court’s finding that the ends of justice served by taking such action outweigh the best

15        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30   FINDINGS AND ORDER
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: January 11, 2016                                  BENJAMIN B. WAGNER
 6                                                            United States Attorney
 7
                                                              /s/ CHRISTIAAN H.
 8                                                            HIGHSMITH
                                                              CHRISTIAAN H. HIGHSMITH
 9                                                            Assistant United States Attorney
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12
     Dated: January 11, 2016                                  /s/ CHRISTIAAN HIGHSMITH
13                                                            KELLY BABINEAU
14                                                            Counsel for Defendant
                                                              RAMON PRADO
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16 Dated: January 11, 2016                                    /s/ CHRISTIAAN HIGHSMITH
                                                              DINA SANTOS
17                                                            Counsel for Defendant
                                                              SESAR PRADO
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21                                          FINDINGS AND ORDER
22          IT IS SO FOUND AND ORDERED.
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24 Dated: January 12, 2016

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        3
30    FINDINGS AND ORDER
